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                                                            Court-Appointed Temporary Receiver for Link Motion Inc.
                                                            Pursuant to The Honorable Judge Victor Marrero of the
                                                            United States District Court, Southern District of New York
______________________________________________________________________________________


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VIA ECF

Hon. Victor Marrero
United States Courthouse
Southern District of New York
500 Pearl Street, Suite 1040
New York, New York 10007

March 17, 2022

        Re:      Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)

Dear Judge Marrero:

       Pursuant to Your Honor’s March 17, 2022 Order (ECF 279), I write to inform the
Court of actions taken by the Receiver to comply with the Court’s Order to Show Cause
that was entered on the docket on March 16, 2022 (“OSC”) (ECF 277).

         Upon entry of the OSC, the Receiver informed its staff, agents, representatives, and
counsel (including but not limited to its Cayman Islands counsel and the Receiver’s agent
in China, Mr. Francis Guo) that the Court had issued the OSC and that, under the terms of
the OSC, the Receiver and his representatives were prohibited from participating in or
facilitating the Extraordinary General Meetings that had been previously noticed for March
18 and 19, 2022 (the “EGMs”), unless otherwise ordered by the Court.1 I note that to date,
the Receiver’s Cayman counsel, KSG Attorneys at Law (“KSG”), received only one
request for a Teams meeting link to the EGMs. That request was submitted by Mr. Michael
Maloney on behalf of his client China AI Capital Limited. On March 17, 2022, KSG
informed Mr. Maloney that in light of the OSC, the Receiver would not be distributing any
Teams meeting information for the EGMs.2




1
  Upon receipt of Magistrate Judge Freeman’s Report and Recommendation that was docketed on March 10,
2022, the Receiver’s office had already determined that it would not convene or otherwise participate in the
EGMs and would preserve the status quo consistent with Judge Freeman’s direction. On March 15, 2022
(prior to the entry of the OSC), my counsel informed Mr. Maloney of this fact. Mr. Maloney’s contention
that the Receiver “declined to take any action regarding the EGMs” (ECF 280) omits the substance of what
was communicated to him by my office.
2
 In response to requests from counsel to plaintiff Baliga and defendant Shi, my office is providing these
counsel with copies of all Cayman filings related to the application to convene the EGMs.
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        Further, as directed by the OSC, on March 16, 2022, my counsel participated in a
meet and confer call with Mr. Michael Maloney (in his capacity as counsel for defendant
Shi) to discuss a briefing schedule in connection with the OSC.

Respectfully Submitted,




Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver for
Link Motion Inc.
